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                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

                  Plaintiff,
                                             Civil Action No. 6:20-cv-01040-ADA
       v.

DIALPAD, INC.,

                 Defendant.




                           STIPULATION TO SET ASIDE DEFAULT

       Plaintiff ROTHSCHILD BROADCAST DISTRIBUTION SYSTEMS, LLC

(“Rothschild”) and Defendant DIALPAD, INC. (“Dialpad”), HEREBY STIPULATE as follows:

       WHEREAS, Rothschild filed a proof of service indicating that service of the complaint

and summons in this matter was served on Dialpad on March 12, 2021 (Dkt. No. 8);

       WHEREAS, Dialpad never received a copy of the summons or complaint at its corporate

offices or via any electronic means;

       WHEREAS, the Clerk of the Court entered default on May 5, 2021 (Dkt. No. 10);

       WHEREAS, Dialpad learned of the entry of default on May 24, 2021, and immediately

contacted Rothschild;

       WHEREAS, the Parties wish to cooperate in setting aside the default and providing a

period of time for Dialpad to evaluate the Rothschild complaint and respond to it;
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       IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court, that:

       1.       Pursuant to Fed. R. Civ. P. 55(c), the Parties hereby respectfully request that the

                Court set aside the default entered by the Clerk in this matter;

       2.       Dialpad shall respond to the Rothschild complaint by July 2, 2021.

       IT IS SO STIPULATED.



Dated: June 2, 2021

By: /s/ Jay Johnson, with permission           By: /s/ Michael E. Jones
    by Michael E. Jones
    Jay Johnson                                       Michael E. Jones
    SBN 24067322                                      SBN 10929400
    KIZZIA JOHNSON PLLC                               POTTER MINTON, PC
    1910 Pacific Avenue, Suite 13000                  110 North College, Suite 500
    Dallas, Texas 75201                               Tyler, TX 75702
    (214) 451-0164                                    Telephone: 903-597-8311
    jay@kjpllc.com                                    Facsimile: 903-593-0846
                                                      mikejones@potterminton.com

Attorneys for Plaintiff                        Attorneys for Defendant




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on June 2, 2021, I electronically filed this document with the
Clerk of Court via the Court’s CM/ECF system which will send notification of such filing to all
counsel of record, all of whom have consented to electronic service in this action.

                                                        /s/ Michael E. Jones




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